          Case 1:21-cr-00334-TJK Document 19 Filed 07/28/21 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :    CRIMINAL NO. 21-CR-334
                                                :
                      v.                        :    MAGISTRATE NO. 21-MJ-230
                                                :
 DALE JEREMIAH SHALVEY,                         :    VIOLATIONS:
                                                :    18 U.S.C. § 231(a)(3)
                      and                       :    (Civil Disorder)
                                                :    18 U.S.C. § 111(a)(1)
 TARA AILEEN STOTTLEMYER                        :    (Assaulting, Resisting Certain Officers or
                  Defendants.                   :    Employees)
                                                :    18 U.S.C. § 1512(c)(2), 2
                                                :    (Obstruction of an Official Proceeding)
                                                :    18 U.S.C. § 661
                                                :    (Theft of Personal Property Within Special
                                                :    Maritime and Territorial Jurisdiction)
                                                :    18 U.S.C. § 1001(a)(2)
                                                :    (False Statements)
                                                :    18 U.S.C. § 1752(a)(1)
                                                :    (Entering and Remaining in a Restricted
                                                :    Building or Grounds)
                                                :    18 U.S.C. § 1752(a)(2)
                                                :    (Disorderly and Disruptive Conduct in a
                                                :    Restricted Building or Grounds)
                                                :    40 U.S.C. § 5104(e)(2)(A)
                                                :    (Entering and Remaining on the Floor of
                                                :    Congress)
                                                :    40 U.S.C. § 5104(e)(2)(D)
                                                :    (Disorderly Conduct in a Capitol Building)
                                                :    40 U.S.C. § 5104(e)(2)(G)
                                                :    (Parading, Demonstrating, or Picketing in
                                                :    a Capitol Building)



      GOVERNMENT’S MOTION TO SEAL SUPERSEDING INDICTMENT AND
           DELAY ENTRY OF THIS CASE ON THE PUBLIC DOCKET

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place under seal the Superseding Indictment, this


                                               1
               Case 1:21-cr-00334-TJK Document 19 Filed 07/28/21 Page 2 of 4




motion and proposed order, and any order granting this motion, and to delay entry of this criminal

case on the public docket until the arrest warrant for the defendant, TARA AILEEN

STOTTLEMYER, is executed, at which time the Superseding Indictment and related documents

shall be automatically unsealed. In support thereof, the Government states as follows:

          1.      The United States is investigating allegations that Dale Jeremiah Shalvey and Tara Aileen

Stottlemyer willfully and knowingly entered the United States Capitol on January 6, 2021 without legal

authority, and participated in violent and disorderly conduct in violation of 18 U.S.C. § 111(a)(1); 18

U.S.C. § 231(a)(3); 18 U.S.C. § 661; 18 U.S.C. § 1001(a)(2); 18 U.S.C. § 1512(c)(2), 2; 18 U.S.C. §§

1752(a)(1)-(2); and, 40 U.S.C. §§ 5104(e)(2)(A), (D) and (G).

          Dale Jeremiah Shalvey has already been indicted in the above matter. Tara Aileen

Stottlemyer has not been indicted in this matter, and the government has requested a warrant for

the defendant’s arrest.

          2.       The FBI has received information that since the incident surrounding the

charges, that Shalvey and Stottlemyer married and moved to North Carolina and reside together.

Additionally, upon investigation, it appears as if Stottlemyer has been in possession of a pre-paid

cell phone also known as a “burner” phone since she participated in the January 6, 2021 riots as

alleged in the Superseding Indictment. The public disclosure of the Superseding Indictment

could compromise law enforcement’s ability to safely arrest Stottlemyer on the charges alleged

in the Superseding Indictment, especially considering that her co-defendant Shalvey has been

charged with assaulting a law enforcement in this case. Thus, a sealing order is necessary for

public safety and to avoid Stottlemyer fleeing from prosecution and thus delaying a trial in this

matter.

          3.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),
                                                     2
            Case 1:21-cr-00334-TJK Document 19 Filed 07/28/21 Page 3 of 4




there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1)

closure serves a compelling interest; (2) there is a substantial probability that, in the absence of

closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

that would adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co.

v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       4.      In this matter, the United States has a compelling interest in arresting the

defendant. A limited sealing order ensuring that filings related to the Superseding Indictment

and Arrest Warrant are not accessible from the Court’s public files is narrowly tailored to serve a

compelling interest.

       5.      Furthermore, the United States respectfully submits that complying with the

normal notice requirements of Washington Post would defeat the purpose of the motion to seal.

Persons who know the criminal justice system also know that docketing a motion to seal a

Superseding Indictment and Arrest Warrant, or a resulting sealing order, means that the

defendant is charged with a crime, and the Government intends to arrest them. Thus, if this

Motion or a sealing order were to become public, it would be the same as making public the

Superseding Indictment and Arrest Warrant.

       5. To ensure that the Superseding Indictment and related documents are unsealed promptly

upon the arrest of the defendant, the government requests that these documents be automatically

unsealed by operation of the Court’s order, and that the government be permitted to share the

documents publicly at that time.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, the Superseding Indictment,


                                                  3
          Case 1:21-cr-00334-TJK Document 19 Filed 07/28/21 Page 4 of 4




the arrest warrant, this motion and proposed order, and any order granting this motion, and to delay

entry of this criminal case on the public docket until the arrest warrant for the defendant TARA

AILEEN STOTTLEMYER has been executed, at which time the Superseding Indictment and

related documents shall be automatically unsealed and may be publicly shared by the government.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              ACTING UNITED STATES ATTORNEY
                                              D.C. Bar No. 415793


                                            /s/Anthony L. Franks
                                        By: ANTHONY L. FRANKS
                                            Missouri Bar No. 50217MO
                                            Assistant United States Attorney
                                            Detailee-Federal Major Crimes
                                            United States Attorney’s Office
                                            111 South 10th Street
                                            St. Louis, Missouri 63110
                                            Telephone No. (314) 539-3995
                                            anthony.franks@usdoj.gov




                                                 4
